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                    C                 gj)                         FILED
  PRISOWR S C! VII. RIGHTS COMPLAINT (Rev. 05/20)5) u s DISTRICT COURT
                                                        eastern DISTRIC OF TEXAS
                                  IN THE UNITED STATES DISTRICT OURT
                               FOR T E DISTRICT OF TEXAS 2 8 2021
                                                                   DIVISION

                                                rjfe.C3-.WD i.13,3.4? 9                     BY
  Plai lifFs Name and ID Number                                                             deputy
   1 .   ~riL.e      1)DIT
  Place of Confinement
                                                                          CASE NO.
                                                                            (Clerk will assign the number)


 X il j&CTLCUSt. TlfejCCL 1 |)e,) . ?? 4o
 Defendant's Name nd A dress



 Defendant s Name and Address


Defendant's Na e and ddress
( DO NOT USE "ET AL. )

                                     I ST UCTIONS - EAD CAREFULLY

NOTICE:

Your complaint is subject to dismissal unles it conform to these instructions and thi form.

1. To start an action you ust tile an original and one copy of your co plaint with the court. You should keep
a copy of the complaint for your o n records.

2. Your co plaint ust be legibly han written, in ink, or type ritten. You, the plaintiff, ust sign and declare
under penalty of perjury that the facts are correct. Ifyou need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE, ATT CH AN A ITIONAL BLANK PAGE AN WRITE ON IT.

3. You ust file a se arate co plaint for each clai you h ve unles the various clai s are all related to the sa e
incident or issue or are all against the sa e defendant, Rule 18, Federal Rules of Civil Procedure. Ma e a short and
plain statement of your claim. Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, ail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division here one or ore na ed defendants are located, o where the
incident giving ise to our cl i for relief occurred. If you are confuted in the Texas Depart ent of Criminal
Justice, Correctional Institutions Di ision (TDCJ-CID), the list labeled as " VENUE LIST is posted in you unit
la libr ry. It is a list of the Tex s prison units indicating the ppropriate district court, the divi ion and an address
list of the divisional clerks.




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  FILING FEE AND IN FORMA PAUPERIS (I F)

  1. In order for your complaint to be filed, it ust be accompanied by the statutory filing fee of $350.00 plus an
  administrative fee of $50.00 for a tot l fee o $400.00.

  2. If yo do not ha e the necessary funds to pay the fee in full at this ti e, you may request permissi n to proceed
 in forma pauperis. In this event u ust complete the a plication to p oceed in forma pauperis, etting fo th
 info mation to e tablish your inability to pre ay.the fees an costs or give security therefo . You must al o i clude
 a current six- onth hist ry of you in ate trust acc unt. If you are an i mate in TDCJ-CID, you can c ui e the
   p lication to proceed in forma pa peris and the certificate of inmate trust account, also known in forma
 pauperi d ta sheet, from the law library at your ri on unit.

 3. The Prison Litigation Ref rm Act of 1995 (PLR.A) provides if a pris ner brin s a civil action or files an
 appeal in fo ma pa peris, (he prisone shall be required to pay the full amount of a filin fee. See 28 U.S.C.
 § 1915. Thu , the court is required to as ess and, when fun exist, collect, the entire filing fee or an initial partial
 filin fee and monthly installments until the entire amount of the filin fee has been paid by the prisoner. If ou
submit the application to proceed i fo ma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
    sess and collect the entire fi li fee or an initial partial fl lin fee, then onthly instalIments from your in ate t ust
account, until the entire 350,00 statutory flin fee ha been paid. (The $50.00 ad inistrative fee doe not apply
to cases proceedin i J rm pa peris.)

4. If you intend to seek in f rma pauperis statu , o not send your compl int ithout an application to proceed
in Jorma pauperis an the certific te of in ate trust account. Complete all e sential paperwork before ub ittin
it to the cou t.

C NGE OF A DRESS

Il i your respon ibility to inform the court of any chan e of add ess and its effective date. Such notice should be
  arked NOTICE TO T E COURT OF CHANGE OF DDRESS" and shall not include any otion for any
other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS ay result in the dismissal
of your co plaint pursuant to ule 41 (b), Federal ules of Civil Procedure.


I. PREVIOUS LAWSUITS;
        A. Have you filed a y other lawsuit in state or federal court relatin to your imprison ent? YES </*NO
        B, If your answer to “A is “yes, describe each lawsuit in the space below. (If there is ore than one
             lawsuit, escribe the additional la suits on another piece of p per, iving the sa e information.)

            1.     Approxi ate date of filing lawsuit:
            2.     Parties to previou lawsuit;
                   Plaintifffs)
                   Defendant                     s)
           3.      Court: If federal, name the district; if sta , n   the county.).
           4.      Cause number: .

           5.      Name of ju e to who c se as as ign ;d: _

           6.      Disposition: ( Was the case dis issed, appea'      till peufding?)
           7.    Approximate date of disposition: |

                                                                                                         Rev. 05/15
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] I. PLACE OF PRESENT CONF I EMEN1: //tcr                              .O      Um <

III. EXHAUSTION OF GRIEVA CE P OCEDU ES:
     Have you exhausted all steps of the instituti nal grievance procedure?
     Attach a cop of your final step of the g iev nce procedure with the esponse supplie by the institution,

IV. PARTIES TO THIS SUIT:
     A. Name and add ess ofplainti ff:
                                    3O(aD


     B. Full name of each efendant, his official position, his place of emplo ment, and his full.mailing ad ress.

        Defendant1: CO L                    Ef     /T lg.g: T<9g---r >opr TUn rdGiAf


        Briefly e cribe the act(s) or o ission(s) of this defend nt which you clai ed har ed you.
                                             rrd± hJ_O._.£yi


       Defendant#2: ILOST                                      H~ho<2.iy)anjz (g7

                       2GZ-g                     <      T      -       '   .S        ±f2.

       Briefly describe the act( ) or o i sion(s) of this efendant which you claime har ed you.
        FAL >P.H)»G6»                                          -FA¥ e L>O J XV

       Defendant#3:            .   oi0 o>v»gg- a?I>fr>to/E<J./ ft p».T>/Tt>GJ- /L>


       Briefly describe the act(s) or o ission(s) of this defendant hich you claimed h rmed you.



       Defendant : ArJt m-okJ. T> , A~r. j Tbr.T- C i D E&> iat j ->- } / A S~

        ±Ll.(           L     n..vf           /.oc
       Briefly describe the act(s) or o ission(s) of this defend nt which you claimed harmed you.



      Defen                                                           ant
                                               .

      Briefly describe the act(s) or omission(s) of this defendant which you clai ed harmed you.

                             ib g,. .   Qji rf .t P ofe ., gg >. r u.g ..u A.fS n.E.p .Qfcj i Sg:




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 V. STATEMENT OF CLAIM:
       State here in a slioil and plain statement the facts of your case, that, i , what ha ened, where id it ha pen,
       when did it happen, an who as involved. Describe ho each efendant is inv lved. Yo need npt give
       anv legal arnuments or cite any cases or statutes. If you intend to allege a number of el ted claims, numbe
       and set forth each cl im in a epa ate parag ph. Attach extra pa es if neces a y, but remember the
       compl int must be stale briefly an conci ely. IF YOU VIOLATE THIS RULE, THE COUR MAY
       STRIKE YOUR COMPLAINT.




             s                 t           but
      D'FFi Cg/g




                                                                .




     • o      > C      A S o e/i'.at o e            al pzto4 c -lo/>            c/tsc . n ak        /     l2 k3l;a oA
VI. RELIEF;
     State brie fly exactly hat you want the court to do for you. Make no legal a uments. Cite no cases r
     statutes.

                          tHat                     .TH®



VII. GENE AL BACKG OUND INFO MATION:
           State, in complete for , all na es you have ever used or been known by including any and all liases.




     B. List all TDCJ-CID identification numbers you have ever been assigned and all other state or federal
         prison or FBI numbers ever assigned to you.

           Ti> T y9Zg              y 'T G ;

VIII. SANCTIONS:
     A. Have you been sanctioned by any court as a result of any lawsuit you have f le ?
     B. If your an wer is yes, give the followin infor ation for every lawsuit in which sanctions ere
        imposed. (If more than one, use another piece of paper and answer the sa e question .)

        1.    Court that i posed sanctions (if federal, give the district and division):
        2.    Case              number;                      ...           ...      .


        3.    Approximate date sane lions were impo ed:. . . '

        4.    Have the sanctions been lifted or otherwi e satisfied?

                                                                                                   Rev. 05/15
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          C. Has any court ever warned or notifie you that sanctions could be impose ?                YES N()
         D. Jf ur answer is yes, give the followin info mation for ever l suit in whi h a arning was is ued.
            (Jf more t han one, use another iece of p per and an wer the s me

             1. Court that issue warning (if federal, gi vc the district and division):
            2. Case number:

            3. Approximate ate warning as issue :



  Executed                                                           on:



                                                                           (Signature of Plaintiff)


 PLAINTIFF S DECLARATIONS

        1. Ideclare under penally of erjury all foots re ente in this complaint and attachments thereto are true
            nd correct.
       2. I under tand, if I a released or transferred, it i my resp nsibility to keep the court informed of y
            current ailing address and failure to do so ay result in the dis i sal of thi lawsuit.
       3. I under tan I must exhaust all avail ble administrative re edies prior to filing this lawsuit.
       4. I un erstan I am prohibited from bringing n in forma paupe is l suit i f I have brou ht three or ore
            civil actions or appeals (from a judg ent in a civil action) in a court of the United States hile
            incarcerated or detained i any facility, which la suits were is issed on the round the ere
           frivolous, alicious, or failed to state a claim u on which relief ay be ranted, unless I am under
           i minent dan er of serious physical injury.
       5. 1 understand even if I a llowe to proceed withoutprepaymenl of costs, 1 am responsible for the entire
           filing fee an costs a sessed by the court, hich hall be deducted in accordance with the law from y
           in ate trust account by m custodian until the filing fee is paid.


Si ned this                              day of r, 20                           .
                     (Day) ( onth) ( ear)




                                                                          (Signature of Plaintiff)


WA NING: Plaintiff is advised a y false or deliberatel mi leading information provided in response to the
above questions ay result in the imposition of sanctions. The sanctions the court ay i pose include, but
 re not limited to, onetar sanctions and the dismissal of this action with prejudice.




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ExHiB/~r )-




               Outside purchases take up to several weeks to recei e for processing. Processed daily; funds removed

               when processed.




DISPOSITION: (Inmate will not write in this space)




 1-60 (Rev. 11-90)
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TEXAS DEPARTMENT OF CRIMI AL JUSTICE                                       INMATE REQUEST FOR W            DRAWL
I MATE TRUST FUND                                                          Unit         Inmate
date rdimrd~irsi[ im                                                                   - Signature
PLEASE USE A BUSINESS SIZE ENVELOPE              I I Outside Purchase a k
                                                                                        UniP
     DO OT FOLD, STAPLE OR TAPE
     Use Black or Dark Blue Ink.                     Print CAPITAL letters and numbers block
                II). TOCJ UMBER (G)                  tyle insi e square without toucl

    o                                                                    § AS B
                              iNMATE LAST NAMS

                         Pt (2-   5
                                                                                         APPhOV£0!
                                                                                               6      A
           ¦•-•-DOLLARS ;


                                                       N AMOUNT

        PAY TO THE ORDER ft
                                                                                                                   Right tFnimb Print




                  DRESS:              STREET           APT. NO.          CITY              STATE
     1-0025 (REV 1/12)                                                                               ZIP
Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 9 of 41 PageID #: 9




                           TDCJ - INSTITUTIONAL DIVISION
                                OFFICIAL LAYIN PASS
                                    ADMINISTRATIVE

                     EFFECTIVE DATE: 04/16/2021
                    FRO -TO TI E: 10:00-10:15
                    START DATE: 04/16/2021 END DATE: 04/16/2021

                   ADMIT: 02133477 ALVAREZ,EDWING AHMED
                    REASON: WITHDRAWALS HOUSE: 3B33-72T

                    JOB: KITCHEN HELPER 1ST 06:00-14:00
                    EDUC:


                    COUNTROO : CNTRM

                    TITLE: CNTR
        Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 10 of 41 PageID #: 10




Name:                                  1             No-:                Unit:

Livin                Quarters:                       Work Assignment:.

DISPOSITION: (Inmate will not write in this space)




 1-60 (Rev. 11-90)
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                                Texas Dep rtment of Criminal Justice
                                       I ter-Office Communications
                                             Commissary & Trust Fund


Date:



From: Inm te Tnist'Fund



RE: Insufficient Funds

The enclosed 1-25 is being returned to the in ate because of I s fficient Funds.

The in ate did not h ve enough funds to cover this outside purchase. Please return t e 1-25 and envelope to the
in ate. If the inmate wants to process this outside purchase, he/she ill have to submit a new equest when the
funds beco e av ilable.

                                 %

Thank you,



I a e Trust Fund Staff
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                                                                                  I
Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 13 of 41 PageID #: 13
 Case: 9:20cv90




 Edwing Ahmed Alvarez 02133477
 STILES UNIT
 3060 FM 3514
 Beau ont, TX 77705
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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE EASTERN DISTRICT OF TEXAS

                                           LUFKIN DIVISION


   ED WING AHMED ALVAREZ
                                                      §
   VS. CIVIL ACTION NO. 9:20-CV-90

   DIRECTOR, TDCJ-CID


                               REPORT AND RECOMMENDATION
                             OF UNITED STATES MAGISTRATE JUDGE

           Petitioner, Edwing Ahmed Alvarez, an inmate currently confined at the Stiles Unit of the

   Texas Department of Criminal Justice, Correctional Institutions Division, proceeding pro se and in

   forma pauperis, brings this petition for writ of habeas corpus pursuant to 28 U.S.C. § 2254.

           The above-styled action was referred to the undersigned Magistrate Judge pursuant to 28

   U.S.C. § 636 and the Local Rules for the Assignment of Duties to the United States Magistrate

   Judge for findings of fact, conclusions of law, and recommendations for the disposition of the case.

                                                Background

           Petitioner contests the validity of a prison disciplinary case number 20200121195 wherein

   he was charged with possession of contraband. Petitioner was found guilty of the disciplinary

   violation on February 4, 2020 and received the following punishment: (1) 45 days commissary

   restriction (2) 45 days recreation restriction, (3) restricted visitation through March 3,2020, (3) cell

   45 days of cell restriction, and (4) loss of access to the offender telephone system for 30 days. In

   addition, petitioner s line class was reduced from S3 to LI. Petitioner did not lose any previously

   earned good conduct time. Petitioner asserts there was insufficient evidence to sustain the


                                                      1
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   disciplinary charge.

          Respondent was ordered to Show Cause on May 11,2020 (docket entry no. 5). Respondent

   ar ues petitioner failed to exhaust his administrative remedies, he is not eligible for mandatory

   supervision and did not lose any ood conduct time and there was sufficient evidence to convict

   petitioner of the disciplinary conviction. Response (docket entry no. 14). Petitioner filed a Reply

   on September 14, 2020 (docket entry no. 19).

                                                Discussion

           Prisoners charged with rule violations are entitled to certain due process rights under the

   Fourteenth Amendment when the disciplinary action may result in a sanction that will impose upon

   a liberty interest. State-created liberty interests protected by the Due Process Clause are generally

   limited to freedom from restraint imposing an atypical and significant hardship on the inmate in

   relation to the ordinary incidents of prison life. Sandin v. Conner, 515 U.S. 472 (1995).

           In Sandin, the Court adopted a new and different methodology for determining whether a

   state has createdaprotected liberty interest to benefit prison inmates. Id. at 2297-2300. Rather than

   focusing on the presence or absence of mandatory statutory or regulatory language, [See, e.g., Hewitt

   v. Helms, 459 U.S. 460 (1983)] the Supreme Court determined that the reviewing court should

   consider the nature of the challenged state action and whether it involved such a significant

   departure from normal prison conditions that the state might have conceivably created a liberty

   interest. Id. at 2299.


           Protected interests are generally limited to state-created regulations or statutes which affect

   the quantity of time rather than the quality of time served by a prisoner. Madison v. Parker, 104

   F.3d 765, 767 (Sth Cir. 1997). In Texas, prisoners eligible for release on mandatory supervised



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 release, may have a protected liberty interest in previously-earned good conduct time. See Kimbrell

 v. Cockrell, 311 F.3d 361, 362 (Sth Cir. 2002); Malchi v. Thaler, 211 F.3d 953, 956-58 (Sth Cir.

 2000).1 However, being placed in solitary confinement for limited amount of time, losing

 com issary and recreation privileges, being demoted to a more rigorous custody classification,

 being required to remain in the same time-earning class and being demoted to a classification at

 which fewer good conduct time credits are earned are not sanctions which impose an atypical and

  significant hardship on the inmate in relation to the ordinary incidents of prison life. Sandin, 115

  S.Ct at 2299; see also Madison, 104 F.3d at 768 (concluding that imposing thirty days of

  commissary and cell restrictions as punishment constitutes mere changes in the conditions of a

 prisoners confinement and do not implicate due process conce s); Malchi v. Thaler, 211 F.3d 953,

  958 (Sth Cir. 2000) (release on mandatory supervision is too speculative to give an inmate a liberty

  interest in not being demoted to or forced to re ain at a classification at which fewer days of good

  conduct time credits are ea ed); Luken v. Scott, 71 F.3d 192, 193 (Sth Cir. 1995) ( the mere

  opportunity to earn good-time credits [does not] constitute a constitutionally cognizable liberty

  interest sufficient to tri ger the protection of the Due Process Clause. , cert, denied, Luken v.




            'in Texas, prisoners who are eligible for release on mandatory supervision must be released when certain
  criteria are satisfied. For exam le, prisoners who are eligible for release on mandatory supervision are entitled to be
  released when the time they have served plus the good conduct time credits they have accrued equal their sentence.
  When the requirements for release on m ndatory supervision have been et, officials have no discretion as to
  whether or not to release a prisoner. However, not all Texas prisoners are eligible for release on mandatory
  supervision. Inmates convicted of certain crimes are not eligible for such release.

           In Madison v. Parker, 104 F.3d 765 (Sth Cir. 1997), the United States Court of Appeals for the Fifth Circuit
 explained the distinction bet een rele se on p role and release on mandatory supervision in the Texas system. The
 court stated that release on parole is a discretionary and conditional release of a prisoner so that the prisoner serves
 the remainder of his sentence under the supervision of the division of pardons and paroles. In contrast, a prisoner
 released on mandatory supervision serves the remainder of his sentence t ot on parole, but still under the supervision
 of the pardons and paroles division. The court, citing Allison v. Kyle, 66F.3d 71 (Sth Cir. 1995), and Creel v.
 Keene, 928 F.2d 707 (Sth Cir. 1991), stated release on parole was entirely speculative and that there was no
 constitutional expectancy to release on parole.

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   Johnson, 517 U.S. 1196 (1996); Moody v. Baker, 857 F.2d256, 257-58 (SthCir.) ( An inmate has

   neither a protectible property nor liberty interest in his custody classification... ), cert, denied, 488

   U.S. 985 (1988).

           The due process that an inmate must receive in a disciplinary hearing is (1) written notice

   of the charges against him at least twenty-four hours before the hearing, (2) a written statement of

   the fact-finders as to the evidence relied on and the reasons for the disciplinary action taken, and (3)

   the opportunity to call witnesses and present documentary evidence in his defense, unless these

   procedures would create a security risk in the particular case. Henson v. U. S. Bureau of Prisons, 213

   F.3d 897, 898 (5th Cir. 2000); Walker v. Navarro County Jail, 4 F.3d 410,412 (Sth Cir. 1993); Wolf

   v. McDonnell, 418 U.S. 539, 563-66 (1974).

           Here, petitioner as convicted of burglary, a first-degree felony pursuant to section 30.02

   of the Texas Penal Code and is not eligible for mandatory supervision. Petitioner did not lose any

   previously earned good time credit. Thus, the punishment imposed on petitioner as a result of his

   disciplinary conviction does not implicate a protected liberty interest. Accordingly, petitioner was

   not entitled to due process before receiving such punishment.

       * To the extent petitioner asserts claims for the denial of access to courts, denial of equal

   protection of the law, gender discrimination and retaliation, petitioner is free to fd a se arate civil

   rights action pursuant to 42 U.S.C. § 1983 as those claims relate to the conditions of his

   confinement. Carson v. Johnson, 112 F.3d 818,820-21 (SthCir. 1997) (ifa favorable determination

   would not accelerate a prisoner s ultimate rele se from confinement, the prisoner should bring his

   claims in a § 1983 suit). A separate $350.00 filing fee applies to actions filed pursuant to 42 U.S.C.

   § 1983.



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                                           Recommendation


          The petition for writ of habeas corpus filed pursuant to 28 U.S.C. § 2254 should be denied.

                                               Objections

          Within fourteen (14) days after receipt of the Magistrate Judge s report, any party may serve

   and file written objections to the findings of facts, conclusions of law and recommendations of the

   Magistrate Judge. 28 U.S.C. § 636(b)(1)(c).

          Failure to file written objections to the proposed findings of facts, conclusions of law and

   recommendations contained within this report within fourteen (14) days after service shall bar an

   aggrieved party from de novo review by the district court of the proposed findings, conclusions and

   recommendations and from appellate review of factual findings and legal conclusions accepted by

   the district court except on grounds of plain error. Douglass v. United Services Automobile


   Association, 79 F.3d 1415, 1417 (Sth Cir. 1996) (enbanc); 28 U.S.C. § 636(b)(1); FED. R. ClV. P.

   72.

                       SIGNED this the 22nd day of September, 2020.




                                                         KEITH F. GIBLIN
                                                         UNITED STATES MAGISTRATE JUDGE




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                                     NOT FOR PRINTED PUBLICATION
                                 IN THE UNI ED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                                  LUFKIN DIVISION

   ED WING AHMED ALVAREZ §
   VS. § CIVIL ACTION NO. 9.-20-CV-90

   DIRECTOR, TDCJ-CID §

                                 ORDER ACCEPTING THE MAGISTRATE
                               JUDGE S REPORT AND RECOMMENDATION
            Petitioner, Edwing Ahmed Alvarez, an in ate confined at the Stiles Unit of the Texas

   Department of Criminal Justice, Correctional Institutions Division, proceeding pro se and in forma

   pauperis, brings this petition for writ of habeas corpus filed pursuant to 28 U.S.C. § 2254.

            The court referred this matter to the Honorable Keith Giblin, United States Magistrate Judge,

   at Lufkin, Texas, for consideration pursuant to applicable laws and orders of this court. The

   Magistrate Judge recommends this petition for writ of habeas corpus be denied (docket entry no. 21).

            The court has received and considered the Report and Recommendation of United States

   Magistrate Judge filed pursuant to such order, along with the record, and pleadings. No objections

   to the Report and Recommendation of United States Magistrate Judge have been filed to dates.1

                                                           ORDER
            The findings of fact and conclusions of law of the Magistrate Judge are correct, and the

   report of the Magistrate Judge is ACCEPTED. A Final Judgment will be entered in this case in

   accordance with the Magistrate Judge s recommendations.

            Furthermore, the court is of the opinion petitioner is not entitled to a certificate of

   appealability. An appeal from a judgment denying post-conviction collateral relief may not proceed



              etitioner received a copy of the Report and Recommendation on September 28,2020 (docket entry no. 22).
   Petitioner sought an extension to file Objections which as granted on October 20, 2020 (docket entry no. 25).
   Petitioner only filed a Notice on November 25,2020, requesting the Court assist him in a FOIA request (docket entry
   no. 27). This Court has no authority to in this § habeas petition to order officials at TDCJ to rush petitioner s FOIA
   request. The Court admonishes petitioner that it is not necessary to have evidence in order to file a civil rights action.
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   unless a judge issues a certificate of appealability. See 28 U.S.C. § 2253. The standard for a

   certificate of appealability requires the petitioner to make a substantial showing of the denial of a

   federal constitutional right. See Slackv. McDaniel, 529 U.S. 473,483-84 (2000); Elizalde v. Dretke,

   362 F.3d 323,328 (Sth Cir. 2004). To make a substantial showing, the petitioner need not establish

   that he would prevail on the merits. Rather, he must demonstrate that the issues are subject to debate

   among jurists of reason, that a court could resolve the issues in a different manner, or that the

   questions presented are worthy of encouragement to proceed further. See Slack, 529 U.S. at 483-84.

   Any doubt regarding whether to grant a certificate of appealability should be resolved in favor of the

   petitioner, and the severity of the penalty may be considered in making this determination. See

   Miller v. Johnson, 200 F.3d 274, 280-81 (Sth Cir.), cert, denied, 531 U.S. 849 (2000).

           In this case, petitioner has not shown that any of the issues would be subject to debate among

   jurists of reason. The questions presented are not worthy of encouragement to proceed further.

   Therefore, petitioner has failed to make a sufficient showing to merit the issuance of certificate of

   appealability. A certificate of appealability will not be issued.


                 So ORDERED and SIGNED, Jan 13, 2021.



                                                                       Ron Clark
                                                                       Senior Judge




                                                      2
Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 21 of 41 PageID #: 21

  Case l:20-cv-00357-MAC-KFG Document 7 Filed 10/27/20 Page 1 of 1 PagelD #: 50




   UNITED STATES DISTRICT COURT EASTERN DISTRICT OF TEXAS

   EDWING AHMED ALVAREZ, §
                                                    §
                  Petitioner, §
                                                    §
   versus § CIVIL ACTION NO. l:20-CV-357
                                                    §
   DIRECTOR, TDCJ-CID, §
                                                    §
                  Respondent. §

                  MEMORANDUM ORDER ADOPTING THE MAGISTRATE
                          JUDGE S REPORT AND RECOMMENDATION
          Petitioner Edwing Ahmed Alvarez, an inmate at the Stiles Unit of the Texas Department

   of Criminal Justice, Correctional Institutions Division, proceeding pro se, brings this petition for

   writ of habeas corpus.

          The court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

   Judge, at Beaumont, Texas, for consideration pursuant to applicable la s and orders of this court.

   The magistrate judge recommends that petitioner s motion to proceed in forma pauperis be denied.

          The court has received and considered the Report and Recommendation of United States

   Magistrate Judge, along with the record, pleadings and all available evidence. No objections to

   the Report and Recommendation of United States Magistrate Judge were filed by the parties.

                                               ORDER
          Accordingly, the findings of fact and conclusions of law of the magistrate judge are

   correct, and the report of the magistrate judge is ADOPTED. It is therefore

          ORDERED that petitioner s motion to proceed in forma pauperis is DENIED. Petitioner

   shall pay the filing fee of $5.00 within thirty (30) days from the date of this order.


           Signed this date
           Oct 27, 2020




                              MARCIA A. CRONE
                    UNITED STATES DISTRICT JUDGE
Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 22 of 41 PageID #: 22




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                                                Jan. ?y g. o              ag/ n is
       Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 23 of 41 PageID #: 23
g |gp S _9j20-cv-00090-RC-KFG Document 1 Filed-05/01/20                            age 25 of 35 PagelD #: 25
                  ~Texas Departme t of Criminal Justice                                   OFFICE USE ONLY
                                                                                                MMOLp
                                               OFFENDER                                               FEB 0 6 aS
                                            GRIEVANCE FORM
                                                                                   Date Due:

                                                                                   Grievance Code:

Offender Name:                                                                     I vestigator ID #:

Unit:       i     Housing Assignment: HS F"/                                       Extension Date:

Unit where incident oc u re : Ci p


Yo must try to resolve your problem ith a staff e be before you sub it a fo al co plaint. he onl exception is when
appealing the results of a disciplina y hearing.
Who did you talk to (n me, title)? C-T dssf hen?
What                    was                their               response'?
What action w s taken? 'Pht>

State your grievance i the space rovided. Please state ho, hat, hen, here and the isciplinary c se nu ber if ap opriate
         F -MCe




                                                                                                                 TS j




1-127 Front (Reviser

                                                                                                               Appendix F
           Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 24 of 41 PageID #: 24
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  1-y, PA ) /7 r-)Z) ' gz.sc ->
                                            '       ~A               ~


ife tion Requested to resolve yo r Compla;
 g a/T-e,i j          rc o




 Grievance Response:


                 Records reflect that you were placed in restrictive housing on 01/27/2020 due to you receiving a disciplinary case. Sgt. Ross
                states that all offenders are subject to search in accordance w;l.h policy. Sgt. Ross further states that you were searched in a
                secure area out of the view of other offenders. No evidence of any staff misconduct has been noted. No further action is
                warranted at this time.


                                                                                                J.Larue
                                                                                                Assist Warden


 Signature                                                       uthority:                                          /          Date:
 Tf ymi are dissatisfied with tire Step 1 respo se, you may submit a Step 2 (M28) to the Unit Gri vance Inv stigator within 15 days fro the date of the Ste 1 res onse.
 State the reason for a peal on the Ste 2 Form.
 Returned because: Resubmit this form when the corrections are made.

  r~l 1. Grievable time period has expire .
  [""i 2. Submission in excess of 1 eve y 7 days.
                                                                                                                         OFFICE USE ONLY
                                                                                                              Initial Submission UGI Initials:
      3. Originals not sub itted.
                                                                                                              Grievance                                      #:
  [2] 4. Inappropriate/Excessive attachments.                                                                 Screening Criteria Used:
      5. No documented attempt at infor al resolution.
                                                                                                               Date Reed fro                     Offender:.
      6. o requested relief is stated.
                                                                                                               Date Returned to Offender:
  I ] 7. Malicious use of vulgar, indecent, or physically threatening language.
                                                                                                               2 S bmission yGI Initials:
      8. The issue presented is not grievable.                                                                 Grievance                                  #:
  Q 9       Redundant, Refer to grievance #                                                                    Screening Criteria Used:

  Q 10. Ille ible/Incomprehensible.                                                                            Date Recd fro                    Offender: .

      11. Inappropriate.                                                                                       Date Returned to Offender: .

  UGI Printed Name/Signature:                                                                                  3 Sub i sion UGI Initials:
                                                                                                               Grievance                                  #:
  Application of the screening criteria for this rievance is not expecte to a versely                          Screening Criteria Used:
   ffect the offender s health.
                                                                                                               Date          ecd from Offender:

  Medical Si nature Authority:                                                                                 Date Returne                  to Offender: .


  1-127 Back (Revised 11-2010)
                                                                                                                                                              ppendix F
       Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 25 of 41 PageID #: 25
- Xl/gl lBQsa 20-cv-00090-RC-KFG Document 1 Filed 05/01/20 Page 27 of 35 PagelD #: 27
         7~~~                                  APR                            2          2           2020
                                                                                                     OF CE SE ONLY

                           Texas Department of Criminal Just ce
                                                                                                VG! Re«l Date: 2 0 20 0
        W STEP  2 OFFENDER
            ~ GRIEVANCE FORM                                                                    HQ Recd Date: MAR 2 / 2020
                                                                                                D;itc             D     e

Offender Name: TDCJ                                                                             Grievance Code:


  nit:     i'rb A5 jv.           Ho sing Assignment:
Unit where incident occurred: ArF- - I                                                          Extension Date:



         Y m st ailcich the completed Step 1 Grieva c that has been signe by the. Warde for ya Ste 2 ap eal to be
         accepted. You m y not ppe l to St p 2 with Step 1 that has been et rned nproces ed.

Give reason tor appeal (Be Specific). J a dissati fied with the response l Step 1 beeaiis ...




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 OQ/             /g-g             t2       Agr?                <•/>               L      .      ~A           1"'G-tsi



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  n                           g                           A-


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 1-128 Front (Revised 11-2010)            YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                (OVER)
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        Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 26 of 41 PageID #: 26                                             If
          Case 9:20-cv-00090~RC-KFG . Document 1 Filed 05/01/20 Page 28 of 35 PagelD #: 28

                                                                                                                                    e




                                                                                                                                    ?



Offender Signat re:                                                                                   zo
Grievance Responi




 L                                                                             ,j
 < ¦ Your Step 2 grievance has been investigated by this office. Your allegations of ; ?
              harassment by the staff named in your complaint could not be sustained. Staff conduct ; ..
 ; will continue to be monitored to ensure professionalis nd policy compliance. Based ¦ ' i
              on the evidence available at this ti e, no further action is warranted.




                                       M. LEWANDOWSKI
Signature                               Authority:

Returned beca se: Resubiiiit this form when cor ections are made.                          -OFFICE USE ONLY ¦
                                                                               iiiitia! Submission CGO hiitisU:
t 1. Grievable time period has expired.                                        Date UG1 Ree :
                                                                               Date CG'                Reed: L _
CJ 2. lUegible/lncompvehensiblc. 1
                                                                                 (i:hecl» one) Screened Im ro erly S mitted
D 3. Originals not submitted.
                                                                               Comments:                              :     ¦
    4= Ina propmte/Excessive attachments.                                      Date Returned to Offender:                       •

El 5. Malicious use of vaigar, indecent, or physically threatening language,   2-1! S bmission          CGO Initials: ; d
                                                                               Date DOI Ree :
    6. Inappropriate.
                                                                               Date CGO Reed:
                                                                                 (cheekone) Screened i properly Submiiled
                                                                               Comments:                                ,

                                                                               Date Returned to Offeiider:                    •_
CGO Staff Signature:
                                                                               3d1Submission CGO initials:
                                                                               Date UGI Reed: 11
                                                                               Date CGO Recd:
                                                                                 (checkone) Screene    I roperly Submitted
                                                                               Comme                            ts:

                                                                               Date Returne          Io OfFender: 1



1-128 Back (Revised 11-2010)                                                                            Ap en ix G
         Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 27 of 41 PageID #: 27
                                                                                               OFFICE USE ONLY


                                                                                       Date Received:        APR 2 9 tom
                                                                                       Date Due:

                                                                                       Grieva ce Code:

Offender Name: TDCJ #                                                                  Investigator ID # .

Unit: <£>              l vg Housing Ass gnment:                                        Extension Daie:

Unit wh re incident occurre : L& jTs                                                   Date Ret to Offe der: MAY-2.S-2020


Yo must try to resolve your problem with a staff member before you sub it a forma! complaint. The only exception is when
appealing the results of a di ciplinary hearing.
Who did you talk to (name, title)? C.C) ~ Ac                                                   When?

What was their response? Z&
What action was taken?                                                         y       e           z          cess

State your grievance in the space p ovided. Please state who, what, hen, here and the isciplinary case number if appropriate



                                    V>         rA . ~<i


                 -zvb-e,                     Z      J

   -                yg                  e            r.

      lb               IaJ                  T




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1-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM                                           (OVER)

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                                                                                                                                              ... S-202(L_-




Action Requested to resolve your Complaint.



Offen er Signature:                                                                                               Date:
Griev nce Response:



                    A review of your complaint has been condocted. Officer Thurm was interviewed and states that you did not tell him that you
                    were bitten by a stay cat. Officer Rackley was also interviewed • nd states that you were told to sto messing with the stray cat,
                    but she contacted edical and was informed that you needed t sub it a sic call. You sub itted a sic call and e aluate by
                    Medical on 04/20/2020. No further action is warranted at this :i e.


                                                                                                J.Larue
                                                                                                Assist Warden

Signature                                                        Authority:
If you are dissatisfied with the Step 1 response, you may submit a Ste 2 (1-128) to the Unit Grievance Investigator ithin IS days from the date of tl    response.
State the reason for a peal on the Step 2 Form.

Returned because: esubmit this form when the corrections are made.

Fl 1. Grievable time period has ex ired.
PI 2. Submission in excess of 1 every 7 days.                                                                             OFFICE USE ONLY
                                                                                                              Initial Submission UGI Initials:
A 3. Originals not submitted.
                                                                                                              Grievance                                  #:
r 1 4. Ina propriate/Excessive attachments.
                                                                                                              Screening Criteria Used:
Fl 5. No documented atte pt at informal resolution.
                                                                                                              Date Rec                 from Offen er:
FT 6. No requested relief is stated.
                                                                                                              Date Returned to Offender:
Q 7.. Malicious use of ulgar, indecent, or physically threatening language.
                                                                                                                  Submission UGI Initials:
'Cl 8 The issue presented is not grievable.
                                                                                                              Grievance                                  #:
  l 9. Redundant, Refer to grievance #
                                                                                                              Screening Criteria Used:
n°10. IIlegible/Tncomprehensible.
                                                                                                              D te         ecd fro              Offender:
r~l 11. Inappropriate.
                                                                                                              Date Returned to Offender:
UGI Printed Name/Si nature:                                                                                   a Submi              ion UGI initials:
                                                                                                              Grievance                                  #:
 pplies lion of the s creening criteria for this grievanc e is not expected to adversely
                                                                                                              Screenin                Criteria Used:
Affect t e offender s health.
                                                                                                              Date Recd from Offender:
Medical Si nature                                              uthority:                       .              Date Returned to Offender:

1 127 Back (Revised 11-2010)
                                                                                                                                                         pp SH'dis F
                        Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 29 of 41 PageID #: 29
                                                                                                        OFFICE USE ONLY

                                   Texas Department of Crimi l Justice                            Grievance #•.     Qv oilM
                                                                                                  UCi Kecrf Rate: JUN 1 1 2Q2Q
                                 STEP2 OFFENDER                                                   HQ Recd Date:..
                                                                                                                    JU 1 9 2020
                                                           GRIEVANCE FORM                         Date One;

Offender Name:                                       th mcr TOC J #                               Grievance          f           -


Unit: HousingAssignment - ? /<                                                                    Investigator —*          I

Unit where incident occurred:                                                            ,.       Extension Date:




                   Yo m st attach the completed Step 1 Grievance that has been igned by the Warden for yo r Step 2 ppeal to be
                  accepted. You may not ppeal to Step 2 w ith Ste I that as been etu ed nprocessed.




1-128 Front (Revised 11-2010)                   YOUR SIGN/CTURE IS REQUIRED ON BACK OF THIS FORM                               (OVER)
                                                                                                                           Appendix G
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Offender                            Signature:                            ;          Date:

Grievance Response:

                                                                    I
          Your. Step 2 gri vance has bee investigated. You.,w g :advise<i :at tpp 1 level. Please refer
          to that response. Ap ropriate .aptipn as, lowcd
          proper procedur s-and j.ou w.er c g e a ourlvisit on 4/29/20; teferls no i d p Misconduct
          or policy violatioti. No ftirther GHon isiwarranfe .




                                                                                                               SEP 1 s 20.?0

Signature Authority:                                                                 Date:

Returned because: Resubmit this for      en c rrections are made.                            OFFICE USE ONLY
                                                                                Initial Submission                CGO Initials:
    1. Grievable time period has expired.                                       Date UGI Recd:
    2. Illegible/Incomprehensible.                                              Date CGO Recd:
                                                                                  (check one) Screened            Improperly Submitted
    3. Originals not submitted.
                                                                                Comments:
    4. Inappro riate/Exc ssive att chments.
                                                                                Date Retu ed to Offender
    5. M licious use of vulgar, indecent, or physic lly threatening lan uage.   2 Submission                     CGO Initials:
                                                                                Date UGI Recd:
O 6. Ina pro riate.*
                                                                                Date CGO Recd:
                                                                                  (check one) Screened            Improperly Submitted

                                                                                Comments:

CGO Staff Si nature:                                                            Date Returned to Offender: _

                                                                                3 Submissio                      CGO Initials:
                                                                                Date UGI Recd:
                                                                                D te CGO Recd:
                                                                                  (check one) Screened            Improperl Submitted

                                                                                Comments:

                                                                                Date Returned to Offender: _



1-128 Back (Revised 11-2010)                                                                                    Appendix G
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                 C~s~
                                  CORRECTIONAL MANAGED HEALTH CARE
                                 REFUSAL OF TREATMENT OR SERVICES


 I, ALVAREZ, EDWING A. TDCJ-ID Number: 2133477 decline the following services and treatments at
 the Texas Department of Cri inal Justice:
                                           Medical chain-out


 I understand the above documented treat ent being refused is for the following condition(s):
                                           E2 XUSG

 I understand that potential outcome(s) for refusing the treatment for the above documented condition(s)
 includes but is not li ited to the following:
                        Delay in eval/care, decline in health, possible death


 I do not wish to have this a ove stated treatment or services. I assume full responsibility for any and all
 consequences or personal inconvenience that may arise from refusal of services.


 I understand that I may still request these or similar services in the future.

                                                                        1/27 2020
Signatyfe of Offender/TDCJ-ID #                                                   Date


                                                                        1/27/2020
Signature of Witness (if offender unable                               Date

Reason offender did not sign:

I certify that the above named individual is alert and appears to understand the above listed information.


                                                                       1/27 2020
Signature and Title of(| altli Care Personnel Obta ning Refusal        Date

I certify that the a ove named patient Is alert and has de onstrated comprehension of the

above explained condition, treatment, and potential consequences.




HSM-82 (Rev. 7/13)                                                                                1 Oft

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                                   Texas Department of Criminal Justice
                                OFFICE OF THE INSPECTOR GE ERAL
                                  P.O. Box 4003, Huntsville, Texas 77342


      To:Alvarez, Edwing Ahmed                                  Date: March 26, 2020

      Unit/Department:Lewis Unit                                Correspondence/Complainant #: 2000003811

      Subject: Alvarez, Edwing Ahmed                            TDCJ #: 02133477


      The correspondence forwarded to the Office of the Inspector General has been read and evaluated by
      OIG staff. Based on the information provided, the relevant issues stated will be addressed in the
      following manner:


       3 An OIG Investigation will not be conducted.

         The allegations presented do not come under the investigative purview of this office.

         This correspondence contains issues that should be submitted through the unit grievance procedure.

         If you are not satisfied with your Step 1 Grievance response, you should file a Step 2 Grievance to
      continue the Offender Grievance procedure.

         Allegations or complaints relating to minor staff misconduct or unit issues will be forwarded to the Unit
      Warden.

         The TDCJ Use of Force Office automatically reviews all use of force reports. If further investigation is
      considered appropriate, the UOF will be referred to the OIG.

         Allegations of life endangerment will be forwarded to the Warden s office.

         Polygraph examinations are not administered at offender s request.

          The correspondence received contains issues relevant to the and will be forwarded
      there. Please send further correspondence related to this matter to the above referenced
      office/department.

         Other:

       NOTE: Prison related issues should be directed to the appropriate TDCJ department. Sending
     your concerns to the wrong epartment or agency delays valuable response time.

         Orig nal Documents Returned to Offender.


      CC:



      SDB/741
Case 1:21-cv-00258-MJT-ZJH Document 1 Filed 05/28/21 Page 34 of 41 PageID #: 34


                                                Texas Department                  Number: 01.01
                                                       of                         Date: July 2014
                                                 Criminal Justice                 Page: 1 of2
                                                                                  Supersedes: January 2012




SAFE PRISONS/PREA OPERATIONS MANUAL

SUBJECT:                      Safe Prisons/PREA Management Office

APPLICABILITY:                Safe Prisons/PREA Management Office staff

AUTHORITY:                    Safe Prisons/PREA Plan

PURPOSE:                      To establish responsibilities and procedures related to the operations of the Safe
                              Prisons/PREA Management Office (SPPMO).
PROCEDURES:

I. Ad inistrative Duties

          A. The SPPMO shall:

               1. Enter data related to reported offender-on-offender sexual abuse allegations provided by the
                   Emergency Action Center in the Safe Prisons Sexual Assault Database.

                                                                                                              th
               2. Ensure receipt of the Safe Prisons/PREA Monthly Report E-form from each unit by the 5
                   business day of each month for the previous month s Safe Prisons activity and notify the unit
                   warden when a report is delinquent.

               3. Compile and provide a monthly report to the Correctional Institutions Division (CID)
                  directors utilizing the information obtained fro the Monthly Safe Prisons/PREA Report, the
                  Emergency Action Center, and the Office of the Inspector General to analyze and evaluate
                   trends in sexual abuse, sexual harassment, and extortion.

               4. Identify trends related to time frames in which sexual abuse allegations are reported to have
                   occurred, location of alleged incidents, demographics related to sexual abuse victim and
                   assailants, and custody classes with higher rates of alleged sexual abuse reports.

               5. Prepare technical reports concerning identified trends to assist agency administration in
                   making decisions related to unit operations.

               6. Enter Safe Prisons/PREA Adjustment Codes for electronic notification and tracking of
                   sexual predators, potential sexual predators, sexual victims, extortionists, and extortion
                   victims on the offenders UCR-07 Adjustment Screen.

               7. Provide technical assistance and information to agency staff regarding offender Safe
                   Prisons/PREA training.


Safe Prisons/PREA Operations Manual                                                                 Page 1 of2
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   emotional support, crisis intervention, information and referrals. This individu l shall have
   completed a sexual assault training program certified by the Texas Attorney General s office and
   is employed by a se ual assault program or provides services through a sexual assault program
   as a volunteer under the supervision on an advocate.

    Volunteer is an individual who donates time on a recurring basis to enhance the activities and
   programs of the TDCJ. See the Volunteer Services Plan for definitions of the various types of
   volunteers.

     Youthful Of ender is an offender that is under 18 years of age.




   Safe Prisons/PREA Operations Manual         5                                          July 2014
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                                    STATE OF TEXAS
                             BOARD OF PARDONS AND PAROLES

September 03, 2020


Mr. Edwing Alvarez
TDCJ-CID/SID # 02133477
Stiles Unit
BLDG 3-B-2 ROW 2 CELL: 40
3060 FM 3514
Beaumont, Texas 77705

Dear Mr. Alvarez:

This is to acknowledge receipt of your correspondence dated May 28, 2020.


The information you provided will be placed in your permanent file to be available for consideration by
the Parole Panel at the appropriate time.


Respectfully,




Estela DeHoyos
Program Supervisor III
Central Board Office, Communications Unit




           Texas Board of Pardons and Paroles • Central Office • 8610 Shoal Creek Boulevard • Austin, TX • 78757
                          Offender Status Line (844) 512-0461 T (512) 406-5452 > F (512) 406-5482
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Parole Review Information
                                                          SID Number:          TDCJ Number: ,
ALVAREZ,EDW1NG AHMED                                      07841882             02133477


Parole Review Status
Not in Parole Review

Tiis offender is currently not in the review process.




Last Parole Decision
Dented on 12 09/2020

NEXT REVIEW (12/2021)- Deny favorable paiole action and set for next review.

 enial reason(s): 1D, D




1D CRIMINAL HISTORY - THE RECORD INDICATES THAT THE OFFENDER HAS EPEATEDLY COMMITTED
CRIMIN L EPISODES THAT INDICATE A PREDISPOSITION TO COMMIT CRIMI AL ACTS UPON RELEASE.

4D I STITUTIONAL ADJUSTMENT - THE RECORD INDICATES THAT THE OFFENDER HAS AN UNSATISFACTORY
 NSTITUTIONAL ADJUSTMENT.




Next Parole Review Date
12/2021

- .eturn to Offender Details
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-FAie -J
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